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                      No. 23-15285
_________________________________________________________

   IN THE UNITED STATES COURT OF APPEALS
           FOR THE NINTH CIRCUIT


      IN RE GOOGLE PLAY STORE ANTITRUST LITIGATION

                       MARY CARR, ET AL.
                              V.
                       GOOGLE LLC, ET AL.


               Interlocutory Appeal from the
 U.S. District Court for the Northern District of California
              No. 21-md-2981; No. 20-cv-5761
             Hon. District Judge James Donato


APPELLEES’ RESPONSE TO APPELLANTS’ MOTION
FOR LIMITED REMAND UNDER FEDERAL RULE OF
APPELLATE PROCEDURE 12.1(b) AND TO REMOVE
    THIS CASE FROM THE ORAL ARGUMENT
      CALENDAR FOR SEPTEMBER 11, 2023


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                         August 29, 2023
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     Google has moved this Court to remove this matter from the

September 11, 2023 oral argument calendar and to issue a limited

remand under Federal Rule of Appellate Procedure 12.1(b). Plaintiffs-

Appellees join Google’s requests that the Court remove this case from the

oral argument calendar and that the Court act on the motion on an

expedited basis because of the proximity of oral argument. Plaintiffs also

agree that a “remand for further proceedings” in the District Court

pursuant to Federal Rule of Appellate Procedure 12.1(b) is appropriate

in light of the District Court’s recent Daubert ruling and order. See 3:21-

md-02981-JD (N.D. Cal.), ECF Nos. 588, 589.

     However, while Google seemingly would like this Court to order the

District Court to confine its actions to vacating class certification, what

precise ruling or rulings the District Court makes should be decided by

the District Court in its discretion after hearing from the parties, which

the District Court indicated it wanted to do. ECF No. 589 at 2 (“The

parties are directed to meet and confer, and be prepared to discuss

proposed next steps with the Court at the September 7, 2023 status

conference.”); see Mendia v. Garcia, 874 F.3d 1118, 1122 (9th Cir. 2017)

(ordering remand “for the limited purpose of permitting the government



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to move, and the district court to rule, on the application of its earlier

order”). Once the District Court takes further steps in accordance with

its orders, this Court should dismiss this appeal.

     For the foregoing reasons, Plaintiffs agree that this Court should

vacate the oral argument that is currently set for September 11, 2023,

but ask that this Court order a limited remand that allows the District

Court to take such further steps as appropriate after hearing from the

parties.


August 29, 2023                          By: /s/ Adam L. Hoeflich

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                  CERTIFICATE OF COMPLIANCE

     I certify that:

     1.    This motion response complies with the page limitations of

Ninth Circuit Rule 27-1 and the type-volume limitations of Federal Rule

of Appellate Procedure 27(d)(2)(A) because it contains 2 pages and 293

words, excluding the parts of the motion exempted by Federal Rules of

Appellate Procedure 27(a)(2)(B) and 32(f).

     2.    This motion response complies with the typeface and

typestyle requirements of Federal Rule of Appellate Procedure 32(a)(5)

and (a)(6) because it was prepared in Microsoft Office Word 2010 in 14-

point Century Schoolbook, a proportionally spaced typeface.



August 29, 2023                     /s/ Adam L. Hoeflich                 a
                                        Adam L. Hoeflich
                                        Counsel for Plaintiffs-Appellees
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                     CERTIFICATE OF SERVICE

     I hereby certify that, on August 29, 2023, I electronically filed the

foregoing with the Clerk of the Court for the United States Court of

Appeals for the Ninth Circuit by using the appellate CM/ECF system.

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                                    /s/ Adam L. Hoeflich                     a
                                        Adam L. Hoeflich
                                        Counsel for Plaintiffs-Appellees
